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                         IN THE UNITED STATES BANKRUPTCY
                        COURT FOR THE EASTERN DISTRICT OF
                                   PENNSYLVANIA
  IN RE: Nikkia May                                 CHAPTER THIRTEEN

                         Debtor                     Case Number 23-10245-amc

          MOTION FOR RELIEF FROM AUTOMATIC STAY TO PERMIT
        THE GLEN AT SHAWMONT TO PROCEED WITH AN EVICTION FOR
              618 AUTUMN RIVER RUN, PHILADELPHIA, PA 19128

       Petitioner, The Glen at Shawmont Station, by and through their attorney, Jénel R.

Marraccini, Esquire, moves this Court for an Order granting Relief from the Automatic Stay

provided for by 11 U.S.C. Section 362 and in support thereof avers the following:

       1.       The Petitioner is the owner of the property located at 618 Autumn River Run,

Philadelphia, PA 19128, where the Debtor resides.

       2.       Nikkia May is the Debtor in the above-entitled case under Chapter 13 of the

Bankruptcy Code pending in this Court.

       3.       On JANUARY 26, 2023, the above-named Debtor filed a Petition for Relief

under Chapter 13 of the Bankruptcy Code in this court.

       4. Subsequent to the filing of the Petition for Relief in Bankruptcy, the Debtor has not

paid rent in the following amounts to the Petitioner herein



     Date                           Description                      Charge Payment       Balance
   02/01/23   Rent Charge                                      $1,940.00            $1,940.00
   02/06/23   Late Fee                                         $100.00              $2,040.00
   03/01/23   Return check charge                              $50.00               $2,090.00
   03/06/23   Rent Charge                                      $1,940.00            $4,030.00
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       In addition, due to Debtor’s failure to pay the aforementioned post petition rent

       payments, Petitioner herein has had to incur $750.00 in legal fees and costs, which

       Debtor is responsible for in accordance with the parties’ lease agreement.

       5.      The Debtor does not have the means of paying her rent and the Petitioner is

without adequate protection.

       6.      The Debtor has previously filed a bankruptcy a chapter 13 bankruptcy on

September 21, 2022 Case number 22-12519-amc.

       7.      On or about November 4, 2022, Petitioner filed a Motion for Relief from the

Automatic Stay to Permit The Glen at Shawmont Station. to proceed with an Eviction For 618

Autumn River Run Philadelphia, PA 19128. A true and correct copy of the Motion for Relief is

incorporated by reference and attached hereto as Exhibit “A.” On or about November 30, 2022,

the Court granted relief from the Automatic Stay giving Petitioner leave to proceed with an

eviction for possession of the property. A true and correct copy of the Order is incorporated by

reference and attached hereto as Exhibit “B.” Thereafter, on or about January 18, 2023, Debtor’s

case was dismissed for failure to file documents within the requisite time period. A true and

correct copy of the Order is incorporated by reference and attached hereto as Exhibit “C.”

       8.      Debtor continues to have the use of the apartment "Rent-Free" has no right to

remain therein without paying rent.

       WHEREFORE, Petitioner moves this Court for an Order Granting Relief from the

Automatic Stay provided for by 11 U.S.C. Section 362 and permitting Petitioner to proceed with

an action for possession of the leased premises.
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                                        Respectfully submitted,

                                        COHEN MARRACCINI, LLC


                                        /s/ Jénel R. Marraccini

                                   BY: ________________________________
                                       JÉNEL R. MARRACCINI, ESQUIRE
                                       Attorney for Movant
                                       660 Second Street Pike
                                       Southampton, PA 18966
                                       (215)887-8100
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EXHIBIT “A”
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                         IN THE UNITED STATES BANKRUPTCY
                        COURT FOR THE EASTERN DISTRICT OF
                                   PENNSYLVANIA
  IN RE: Nikkia May                                 CHAPTER THIRTEEN

                         Debtor                     Case Number 22-12519-amc

          MOTION FOR RELIEF FROM AUTOMATIC STAY TO PERMIT
        THE GLEN AT SHAWMONT TO PROCEED WITH AN EVICTION FOR
              618 AUTUMN RIVER RUN, PHILADELPHIA, PA 19128

       Petitioner, The Glen at Shawmont Station, by and through their attorney, Jénel R.

Marraccini, Esquire, moves this Court for an Order granting Relief From the Automatic Stay

provided for by 11 U.S.C. Section 362 and in support thereof avers the following:

       1.      The Petitioner is the owner of the property located at 618 Autumn River Run,

Philadelphia, PA 19128, APT where the Debtor resides.

       2.      Nikkia May is the Debtor in the above-entitled case under Chapter 13 of the

Bankruptcy Code pending in this Court.

       3.      On SEPTEMBER 21, 2022, the above-named Debtor filed a Petition for Relief

under Chapter 13 of the Bankruptcy Code in this court.

       4. Subsequent to the filing of the Petition for Relief in Bankruptcy, the Debtor has not

paid rent in the following amounts to the Petitioner herein



     Date                          Description                       Charge Payment       Balance
   10/1/22   Rent Charge                                       $1,940.00            $1,940.00
   10/6/22   Late Fee                                          $100.00              $2,040.00
   10/6/22   Return check charge                               $50.00               $2,090.00
   11/1/22   Rent Charge                                       $1,940.00            $4,030.00
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       In addition, due to Debtor’s failure to pay the aforementioned post petition rent

       payments, Petitioner herein has had to incur $750.00 in legal fees and costs, which

       Debtor is responsible for in accordance with the parties’ lease agreement.

       5.      The Debtor does not have the means of paying her rent and the Petitioner is

without adequate protection.

       6.      Debtor continues to have the use of the apartment "Rent-Free" has no right to

remain therein without paying rent.

       WHEREFORE, Petitioner moves this Court for an Order Granting Relief from the

Automatic Stay provided for by 11 U.S.C. Section 362 and permitting Petitioner to proceed with

an action for possession of the leased premises.

                                                    Respectfully submitted,

                                                    COHEN MARRACCINI, LLC


                                                    /s/ Jénel R. Marraccini

                                              BY: ________________________________
                                                  JÉNEL R. MARRACCINI, ESQUIRE
                                                  Attorney for Movant
                                                  660 Second Street Pike
                                                  Southampton, PA 18966
                                                  (215)887-8100
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EXHIBIT “B”
Case
 Case22-12519-amc
      23-10245-amc Doc
                    Doc2628-1
                            FiledFiled
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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                              :      Chapter 13

Nikkia Tamar May                                    :
aka Nikkia Tamar Witcher
dba Deal Finding Diva                               :

                       Debtor(s)                    :      Bky. No. 22-12519-amc


                                         ORDER

       AND NOW, upon consideration of the Motion for Relief from Automatic Stay to Permit

The Glen at Shawmont to Proceed with an Eviction for 618 Autumn River Run, Philadelphia, PA

19128 (“the Movant”) and the Debtor(s)’ response thereto, and after a hearing, and for the

reasons stated in court,

       It is hereby ORDERED that:

1. The Motion is GRANTED.

2. The automatic stay under 11 U.S.C. §362 is modified to permit the Movant to exercise its

   rights and remedies under applicable nonbankruptcy law to foreclose on and obtain

   possession of the property located at 618 Autumn River Run, Philadelphia, PA 19128. .




      Date: November 30, 2022               ASHELY M. CHAN
                                            U.S. BANKRUPTCY JUDGE
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EXHIBIT “C”
       Case
        Case22-12519-amc
             23-10245-amc Doc
                           Doc3228-1
                                   FiledFiled
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                          UNITED STATES BANKRUTPCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


       IN RE:                                       Chapter 13
       NIKKIA TAMAR MAY



                              Debtor                Bankruptcy No. 22-12519-AMC



                                                    ORDER

      AND NOW, this ____________ day of ___________________, 202_, upon consideration of the Motion
to Dismiss Case filed by Kenneth E. West, Standing Trustee, and after notice and hearing, it is hereby
ORDERED that this case is DISMISSED and that any wage orders previously entered are VACATED.

      IT IS FURTHER ORDERED that any undisbursed funds held by the Chapter 13 Trustee from
 payments made on account of the Debtor’s plan shall be refunded to the Debtor unless a party in interest files a
 Motion for Alternative Disbursement within 21 days of the entry of this Order.



  Date: January 17, 2023                                    ______________________________
                                                            Honorable Ashely M. Chan
                                                            Bankruptcy Judge

Kenneth E. West, Trustee
P.O. Box 40837
Philadelphia, PA 19107

Debtor’s Attorney:
PRO-SE
*
*
*, * *


Debtor:
NIKKIA TAMAR MAY

618 AUTUMN RIVER RUN

PHILADELPHIA, PA 19128
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                         IN THE UNITED STATES BANKRUPTCY
                        COURT FOR THE EASTERN DISTRICT OF
                                   PENNSYLVANIA
  IN RE: Nikkia May                                CHAPTER THIRTEEN

                         Debtor                    Case Number 23-10245-amc

            MOTION FOR RELIEF FROM AUTOMATIC STAY TO PERMIT

                          ORDER GRANTING RELIEF FROM STAY

       The Motion of Petitioner, The Glen at Shawmont Station requesting Relief from the

Automatic Stay provided for by Section 362(a) of the Bankruptcy Code is GRANTED.

       It is further ORDERED that Petitioner is Granted leave to proceed with an action for

possession of the property and/or eviction of the Debtor.

                                                     BY THE COURT

                                                     ______________________
                                                                                 J.
Notices sent to:

 Nikkia Tamar May                                    Paul H. Young
 618 Autumn River Run                                Young, Marr, Mallis & Deane, LLC
 Philadelphia, PA 19128                              3554 Hulmeville Rd. Ste 102
                                                     Bensalem, PA 19020

 Kennwth E. West                                     United States Trustee
 Office of the Chapter 13 Standing Trustee           Office of U.S. Trustee
 1234 Market Street - Suite 1813                     Robert N.C. Nix Federal Building
 Philadelphia, PA 19107                              900 Market Street
                                                     Suite 320
                                                     Philadelphia, PA 19107
